                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION

UNITED STATES OF AMERICA            )
                                    )
v.                                  )                      CASE NO. DNCW2:13CR000013-1
                                    )                      (Financial Litigation Unit)
JASON DEWAYNE SMITH,                )
AKA/DWIGHT SMITH; TWOFEATHER SMITH, )
                                    )
and                                 )
                                    )
EASTERN BAND OF CHEROKEE INDIANS,   )
               Garnishee.           )

                        WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:         Eastern Band of Cherokee Indians
                      P.O. Box 455
                      Cherokee, North Carolina, 28719
                      Attn: Hannah Smith, Acting Attorney General
                      (828) 497-7434

       An Application for a Writ of Garnishment against the tribal gaming proceed funds of Jason

Dewayne Smith, Defendant has been filed with this Court. A judgment has been entered against

Defendant, dated August 25, 2014 (Docket No. 38). The United States Clerk of Court balance of

$1,239.53, computed through October 19, 2015, is due and owing.

       You, as Garnishee, are required by law to answer in writing, under oath, within ten (10)

days of service of this Writ, whether or not you have in your custody, control or possession, any

property or funds owned by Defendant, including non-exempt, disposable earnings and tribal

gaming proceed funds.

       You must withhold and retain any property in which Defendant has a substantial non-

exempt interest and for which you are or may become indebted to Defendant pending further order

of this Court. See 15 U.S.C. '1673(a).




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       Please state whether or not you anticipate paying Defendant any future payments and

whether such payments are weekly, bi-weekly, monthly, annually or bi-annually.

       You must file the original written Answer to this Writ within ten (10) days of your

receipt of this Writ with the following office:

                             Clerk of the United States District Court
                                    Room 309, 100 Otis Street
                                       Asheville, NC 28801

       Additionally, you are required by law to serve a copy of the Answer upon Defendant at his

or her last known address:

                                      Jason Dewayne Smith,
                                           xxxxxxxxx
                                           xxxxxxxxx
       You are also required to serve a copy of the Answer upon Plaintiff at the following address:

                                 United States Attorney's Office
                                    Financial Litigation Unit
                                227 West Trade Street, Suite 1650
                                      Charlotte, NC 28202

       Under the law, there is property which is exempt from this Writ of Garnishment. Property

which is exempt and which is not subject to this order may be listed on the attached Claim for

Exemption form.

       Pursuant to 15 U.S.C. '1674, Garnishee is prohibited from discharging Defendant from

employment by reason of the fact that his earnings have been subject to garnishment for any one

indebtedness.




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        Pursuant to 28 U.S.C. '3205(c)(6), if you fail to answer this Writ or fail to withhold

property or funds in accordance with this Writ, the United States of America may petition the

Court for an order requiring you to appear before the Court. If you fail to appear or do appear and

fail to show good cause why you failed to comply with this Writ, the Court may enter a judgment

against you for the value of Defendant's non-exempt interest in such property. The Court may

award a reasonable attorney's fee to the United States and against you if the Writ is not answered

within the time specified. It is unlawful to pay or deliver to Defendant any item attached by this

Writ.




                                             Signed: October 20, 2015




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                          CLAIM FOR EXEMPTION FORM
               MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. § 3613)

_____1.     Wearing apparel and school books.--Such items of wearing apparel and such school books as are
            necessary for the debtor or for members of his family.

_____2.     Fuel, provisions, furniture, and personal effects.--So much of the fuel, provisions, furniture, and
            personal effects in the Debtor's household, and of the arms for personal use, livestock, and poultry
            of the debtor, as does not exceed $9,080 in value.

_____3.     Books and tools of a trade, business, or profession.--So many of the books, and tools necessary for
            the trade, business, or profession of the debtor as do not exceed in the aggregate $4,540 in value.

_____4.     Unemployment benefits.--Any amount payable to an individual with respect to his unemployment
            (including any portion thereof payable with respect to dependents) under an unemployment
            compensation law of the United States, of any State, or of the District of Columbia or of the
            Commonwealth of Puerto Rico.

_____5.     Undelivered mail.--Mail, addressed to any person, which has not been delivered to the addressee.

_____6.     Certain annuity and pension payments.--Annuity or pension payments under the Railroad
            Retirement Act, benefits under the Railroad Unemployment Insurance Act, special pension
            payments received by a person whose name has been entered on the Army, Navy, Air Force, and
            Coast Guard Medal of Honor roll (38 U.S.C. 1562), and annuities based on retired or retainer pay
            under Chapter 73 of Title 10 of United States Code.

_____7.     Workmen's Compensation.--Any amount payable with respect to compensation (including any
            portion thereof payable with respect to dependents) under a workmen's compensation law of the
            United States, any State, the District of Columbia, or the Commonwealth of Puerto Rico.

_____8.     Judgments for support of minor children.--If the debtor is required by judgment of a court of
            competent jurisdiction, entered prior to the date of levy, to contribute to the support of his minor
            children, so much of his salary, wages, or other income as is necessary to comply with such
            judgment.

_____9.     Certain service-connected disability payments.-- Any amount payable to an individual as a service-
            connected (within the meaning of section 101(16) of Title 38, United States Code) disability
            benefit under--(A) subchapter II, III,IV, V, or VI of Chapter 11 of such Title 38 or (B) Chapter 13,
            21, 23, 31, 32, 34, 35,37, or 39 of such Title 38.

_____10.    Assistance under Job Training Partnership Act.
            --Any amount payable to a participant under the Job Training Partnership Act (29 U.S.C. 1501 et
            seq.) from funds appropriated pursuant to such Act.




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